                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             Case No. 5:18-cv-00148-FL

BETTY EILEEN DONOVAN,                )
                                     )
            Plaintiff,               )
                                     )
v.                                   )
                                     )
BRAGG MUTUAL FEDERAL CREDIT UNION )
and JOHN SZOKA, individually,        )
                                     )
            Defendants.              )
____________________________________ )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41, the parties stipulate that Plaintiff’s claims against

Defendant Bragg Mutual Federal Credit Union are voluntarily dismissed with prejudice and that

each party shall bear its own costs.

       Respectfully submitted this 1st day of March, 2019.



THE NOBLE LAW FIRM, PLLC                      SMITH, DEBNAM, NARRON, DRAKE
                                              SAINTSING & MYERS, LLP

/s/ Nicholas J. Sanservino, Jr.               /s/ Connie E. Carrigan
Nicholas J. Sanservino, Jr.                   Connie E. Carrigan
N.C. Bar No. 36557                            N.C. Bar No. 16583
141 Providence Road, Suite 210                P.O. Box. 26268
Chapel Hill, N.C. 27514                       Raleigh, N.C. 27611
Telephone:      (919) 251-6008                Telephone:     (919) 250-2000
Facsimile:      (919) 869-2079                Facsimile:     (919) 250-2211
nick@thenoblelaw.com                          ccarrigan@smithdebnamlaw.com
lnoble@thenoblelaw.com                        Attorneys for Defendants
Attorneys for Plaintiff




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                               CERTIFICATE OF SERVICE

        I hereby certify that on March 1, 2019, the foregoing document was electronically filed
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to the following:

                      Connie E. Carrigan, Esq.
                      Smith, Debnam, Narron, Drake, Saintsing & Myers, LLP
                      P.O. Box 26268
                      Raleigh, N.C. 27611
                      ccarrigan@smithdebnamlaw.com
                      Attorneys for Defendants


                                            /s/ Nicholas J. Sanservino, Jr.
                                            Nicholas J. Sanservino, Jr




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